














IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. PD-533-08




										

WILLIS FLOYD WILEY, Appellant
			

  

v.
					

  										

THE STATE OF TEXAS


  


  

ON APPELLANT'S PETITION FOR DISCRETIONARY REVIEW


FROM THE TWELFTH COURT OF APPEALS

ANDERSON COUNTY




Per curiam. KEASLER and HERVEY, JJ., dissent.


ORDER

	The petition for discretionary review violates Rules of Appellate Procedure 9.3,
68.4(i), and 68.5, because the original petition is not accompanied by 11 copies, does not
contain a copy of the opinion of the court of appeals, and exceeds 15 pages.  

	The petition is struck.  See Rule of Appellate Procedure 68.6.

	The petitioner may redraw the petition.  The redrawn petition must be filed in the
Court of Criminal Appeals within thirty days after the date of this order.

En banc

Delivered: May 7, 2008.

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